                                                                                 United States District Court
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                                                              District     2
                                                                       of Connecticut
                                                                                   FILED AT NEW HAVEN

                                                                                    October 17
                                                                                ___________________,20____23
                                                                                     S. Santos
                                                                                By_______________________
                              UNITED STATES DISTRICT COURT                             Deputy Clerk

                                DISTRICT OF CONNECTICUT

IN RE GRAND JURY SUBPOENA                          :           No. 3:23-mj-00898 (MEG)
                                                   :
                                                   :           October 17, 2023

                     APPLICATION FOR NON-DISCLOSURE ORDER

       The United States respectfully submits this application, pursuant to 18 U.S.C. § 2705(b),

for an order providing that each provider identified below (“Provider”) may not notify any person

(including the subscribers or customers of the account(s) listed in the subpoena(s)) of the existence

of the grand jury subpoena(s) identified below (“Subpoena”) until October 17, 2024, absent

further order from the Court:

       Provider                                                Subpoena
       Amazon.com, Inc.                                        N-22-1-110(1)
       Valve Software                                          N-22-1-110(2)
       Expedia, Inc.                                           N-22-1-110(3)
       Quora, Inc.                                             N-22-1-110(4)

       Each Provider identified above is a provider of an electronic communication service, as

defined in 18 U.S.C. § 2510(15), and/or a remote computing service, as defined in 18 U.S.C.

§ 2711(2). Each subpoena requires the corresponding Provider to disclose certain records and

information to the United States pursuant to 18 U.S.C. § 2703(c)(2).

       Because the government is not required to provide notice of the subpoenas, see 18 U.S.C.

§2703(c)(3), the government may apply for an order under 18 U.S.C. § 2705(b) “commanding a

provider of electronic communications service or remote computing service . . . , for such period

as the court deems appropriate, not to notify any other person of the existence” thereof. The order

shall issue if the Court “determines that there is reason to believe that notification of the existence”

of the subpoena would result in one of several enumerated harms, including “flight from
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prosecution; destruction of or tampering with evidence; . . . or otherwise seriously jeopardizing an

investigation.”

       In this case, a non-disclosure order is appropriate because each subpoena relates to an

ongoing grand jury investigation that is neither public nor known to all of the subjects of the

investigation. Accordingly, disclosure of the subpoenas would likely alert the subjects of the

investigation to the existence of the investigation.

       Given the nature of this investigation, much of the evidence likely exists in electronic form.

If alerted to the existence of the investigation, the subjects of the investigation could easily destroy

or tamper with that evidence, whether stored by a third-party service provider or on personal

computers, mobile phones, or other electronic devices. Accordingly, there is reason to believe that

notification of the existence of the subpoenas will seriously jeopardize the investigation, including

by giving subjects of the investigation an opportunity to flee, destroy or tamper with evidence, and

change patterns of behavior.

       WHEREFORE, the United States respectfully requests that the Court grant the attached

Order directing each Provider not to disclose the existence or contents of the corresponding

Subpoena until October 17, 2024, absent further order from the Court, except that the Provider

may disclose the Subpoena to an attorney for the purpose of receiving legal advice.

                                               Respectfully submitted,

                                               VANESSA ROBERTS AVERY
                                               UNITED STATES ATTORNEY
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